                                                                                   Case 2:20-cv-01640-ODW-JPR Document 76 Filed 06/05/20 Page 1 of 4 Page ID #:74



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                                                                                     5
                                                                                         Attorney for Defendant
                                                                                     6 Astora Women’s Health, LLC (f/k/a
                                                                                         American Medical Systems, Inc.)
                                                                                     7

                                                                                     8                             UNITED STATES DISTRICT COURT
                                                                                     9                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                    10
                 A limited liability partnership formed in the State of Delaware




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                                                                                         HILDA MUNOZ and GUILLERMO                 Case No. 2:20-cv-01640-ODW-JPR
                                                                                    12 MUNOZ,
                                                                                                                                   JOINT STIPULATION REGARDING
REED SMITH LLP




                                                                                    13                         Plaintiffs,         REFILING AND CALENDARING
                                                                                                                                   MOTION FOR PARTIAL
                                                                                    14           vs.                               SUMMARY JUDGMENT FROM
                                                                                                                                   TRANSFEROR COURT
                                                                                    15 AMERICAN MEDICAL SYSTEMS,
                                                                                         INC.,
                                                                                    16
                                                                                                               Defendant.
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                                                                                          JOINT STIPULATION REGARDING REFILING AND CALENDARING MOTION FOR PARTIAL SUMMARY
                                                                                                                  JUDGMENT FROM TRANSFEROR COURT
                                                                                   Case 2:20-cv-01640-ODW-JPR Document 76 Filed 06/05/20 Page 2 of 4 Page ID #:75



                                                                                     1           IT IS HEREBY STIPULATED BY AND BETWEEN THE PARTIES AS
                                                                                     2 FOLLOWS:

                                                                                     3

                                                                                     4           1.    This case was filed in the United States District Court for the Southern
                                                                                     5 District of West Virginia as part of the In Re: American Medical Systems, Inc. Pelvic

                                                                                     6 Repair System Products Liability Litigation multi-district litigation for coordinated

                                                                                     7 pretrial proceedings.      While pending in that court, Astora Women’s Health, LLC
                                                                                     8 (f/k/a American Medical Systems, Inc.) (“AMS”) filed a Motion for Partial Summary

                                                                                     9 Judgment (the “Motion”).         The Motion was fully briefed and complies with the
                                                                                    10 Southern District of West Virginia Local Rules.1
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                                                                                    11           2.    On February 20, 2020, this case was transferred to the United States
                                                                                    12 District Court for the Central District of California, pursuant to Transfer Order (ECF
REED SMITH LLP




                                                                                    13 No. 40), and assigned to the Honorable Otis D. Wright, II.

                                                                                    14           3.    On February 26, 2020, this Court issued a Minute Order in Chambers
                                                                                    15 denying the Motion as moot and holding that AMS may refile the Motion on the

                                                                                    16 Court’s calendar per Central District of California Local Rule 6.

                                                                                    17           4.    By way of this stipulation, the parties refile the Motion for Partial
                                                                                    18 Summary Judgment, its Opposition, and its Reply, attached hereto as Exhibits A, B,

                                                                                    19 and C, respectively, and request the Court to calendar the hearing date for August 17,

                                                                                    20 2020 at 1:30 p.m.

                                                                                    21           5.    The aforementioned hearing date complies with Central District of
                                                                                    22 California Local Rule 6 and its requirement for twenty-eight (28) days’ notice before

                                                                                    23 the date set for hearing.

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                                                                                    26  The parties also filed generic and case-specific Daubert motions in the transferor
                                                                                       court. The parties agree to put AMS’s Motion for Partial Summary Judgment on
                                                                                    27
                                                                                       calendar now and intend to file and calendar the Daubert motions closer to the trial
                                                                                    28 date.
                                                                                                                                    –2–
                                                                                             JOINT STIPULATION REGARDING REFILING AND CALENDARING MOTION FOR PARTIAL SUMMARY
                                                                                                                     JUDGMENT FROM TRANSFEROR COURT
                                                                                   Case 2:20-cv-01640-ODW-JPR Document 76 Filed 06/05/20 Page 3 of 4 Page ID #:76



                                                                                     1           6.    The parties, by their undersigned counsel, agree to entry of the order
                                                                                     2 submitted herewith, subject to the approval of the Court.

                                                                                     3

                                                                                     4           IT IS SO STIPULATED.
                                                                                     5

                                                                                     6 DATED: June 5, 2020                             /s/ Kathryn Grace Hooten 2
                                                                                     7                                                 Kathryn Grace Hooten, Esq.
                                                                                                                                       CLARK, LOVE & HUSTON GP
                                                                                     8

                                                                                     9                                                 Attorneys for Plaintiffs Hilda Munoz and
                                                                                                                                       Guillermo Munoz
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                                                                                         DATED: June 5, 2020                           /s/ David E. Stanley
                                                                                    12                                                 David E. Stanley
REED SMITH LLP




                                                                                                                                       REED SMITH LLP
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                                                                                                                                       Attorneys for Defendant Astora
                                                                                    14                                                 Women’s Health, LLC (f/k/a American
                                                                                                                                       Medical Systems, Inc.)
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                                                                                         Pursuant to Central District Local Rule 5-4.3.4(a)(2)(i), filing counsel attests that all
                                                                                         2
                                                                                    27
                                                                                       other signatories listed and on whose behalf this filing is submitted concur in the
                                                                                    28 filing’s content and have authorized the filing. See p. 4.
                                                                                                                                    –3–
                                                                                             JOINT STIPULATION REGARDING REFILING AND CALENDARING MOTION FOR PARTIAL SUMMARY
                                                                                                                     JUDGMENT FROM TRANSFEROR COURT
                                                                                   Case 2:20-cv-01640-ODW-JPR Document 76 Filed 06/05/20 Page 4 of 4 Page ID #:77



                                                                                     1                               SIGNATURE ATTESTATION
                                                                                     2          I hereby certify that concurrence in the filing’s content and authorization of
                                                                                     3 the filing was obtained from the attorney for Plaintiffs Hilda Munoz and Guillermo

                                                                                     4 Munoz.

                                                                                     5

                                                                                     6 DATED: June 5, 2020                           /s/ David E. Stanley
                                                                                     7                                               David E. Stanley
                                                                                                                                     REED SMITH LLP
                                                                                     8
                                                                                                                                     Attorneys for Defendant Astora
                                                                                     9                                               Women’s Health, LLC (f/k/a American
                                                                                                                                     Medical Systems, Inc.)
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                                                                                         JOINT STIPULATION REGARDING REFILING AND CALENDARING MOTION FOR PARTIAL SUMMARY
                                                                                                                 JUDGMENT FROM TRANSFEROR COURT
